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12 Attorneys for Plaintiffs
13                                 UNITED STATES DISTRICT COURT
14                 NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
15 CALIFORNIA COALITION FOR WOMEN                            Case No. 3:23-cv-04155
   PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.;
16 G.M.; A.S.; and L.T., individuals on behalf of            DECLARATION OF OREN
   themselves and all others similarly situated,             NIMNI IN SUPPORT OF
17               Plaintiffs,                                 PLAINTIFFS’ MOTIONS FOR
                                                             PRELIMINARY INJUNCTION
18        v.                                                 AND PROVISIONAL CLASS
                                                             CERTIFICATION
19 UNITED    STATES OF AMERICA FEDERAL
   BUREAU OF PRISONS, a governmental entity;
20 BUREAU     OF PRISONS DIRECTOR COLETTE
   PETERS, in her official capacity; FCI DUBLIN
21 WARDEN      THAHESHA JUSINO, in her official
   capacity; OFFICER BELLHOUSE, in his
22 individual capacity; OFFICER GACAD, in his
   individual capacity; OFFICER JONES, in his
23 individual capacity; LIEUTENANT JONES, in
   her individual capacity; OFFICER LEWIS, in his
24 individual capacity; OFFICER NUNLEY, in his
   individual capacity, OFFICER POOL, in his
25 individual capacity, LIEUTENANT PUTNAM, in
   his individual capacity; OFFICER SERRANO, in
26 his individual capacity; OFFICER SHIRLEY, in
   his individual capacity; OFFICER SMITH, in his
27 individual capacity; and OFFICER VASQUEZ, in
   her individual capacity,
28               Defendants.
     [4339196.1]
              DECLARATION OF OREN NIMNI IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                           INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
      Case 4:23-cv-04155-YGR Document 11-4 Filed 08/17/23 Page 2 of 4




 1         I, Oren Nimni, declare:
 2         1.     I am an attorney barred in the State of Massachusetts, a pro hac vie motion is
 3 forthcoming before this Court. I am the Litigation Director of Rights Behind Bars
 4 (“RBB”), a non-profit law office in Washington, D.C., and counsel of record for the
 5 Plaintiffs and Proposed Class. I have personal knowledge of the facts set forth herein, and
 6 if called as a witness I could competently so testify. I make this declaration in support of
 7 Plaintiffs’ Motion for Provisional Class Certification.
 8         2.     As a Litigation Director at RBB, I direct the litigation docket of RBB and
 9 represent clients on that docket. The organization’s docket is comprised almost entirely of
10 conditions of confinement matters in the federal district courts and courts of appeals.
11 Currently we represent individuals, classes, and organizations challenging conditions of
12 confinement in local jails, state prisons, federal prisons, and immigration detention centers
13 across the country.
14         3.     Rights Behind Bars has unique expertise in prison litigation matters. I have
15 served as counsel for dozens of incarcerated individuals arguing complex doctrinal matters
16 of prison law. See e.g. Durham v. Kelly (21-3187) (3rd Cir.); Cason v. Maryland DOC
17 (21-6290) (4th Cir.); Wise v. Maruka (21-6816) (4th Cir.); Richardson v. Clarke (21-6507)
18 (4th Cir.) Longworth v. Mansukhani (21-7609) (4th Cir.); Koon v. North Carolina (21-
19 6616) (4th Cir.); Pinkston v. Kuiper (21-60320) (5th Cir.); Class v. Davis (21-20560) (5th
20 Cir.); Douthit v. Collier (20-20550) (5th Cir.); Marlowe v. LeBlanc (20-30738) (5th Cir.);
21 Savage v. LeBlanc (22-30125) (5th Cir.); Taylor v. Collier (22-20398) (5th Cir.); Creech v.
22 Ohio DOC (21-3722) (6th Cir.); Fugate v. Erdos (21-4025) (6th. Cir.); Larson v. Eppinger
23 et al (22-4029) (6th Cir.); Williamson v. Wheeler at al. (22-4017) (6th Cir.); Shaw v.
24 Kemper (21-3265) (7th Cir.); Torres v. Brookman (22-2830) (7th Cir.); Starr v. Bland (21-
25 2476) (8th Cir.); Morris v. California (21-16059) (9th Cir.); Briceno v. Williams (21-
26 55624) (9th Cir.); Chernetsky v. State of Nevada (21-16540) (9th Cir.) ; Pamplin v. Lucas
27 (22-15284) (9th Cir.); Seidner v. DeVries (20-17403) (9th Cir.); Marquez v. Rodriguez (21-
28 55981) (9th Cir.); Standard v. Dy (21-35582) (9th Cir.); Silva v. United States (21-1008)
   [4339196.1]                                 1
         DECLARATION OF OREN NIMNI IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                      INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
       Case 4:23-cv-04155-YGR Document 11-4 Filed 08/17/23 Page 3 of 4




 1 (10th Cir.); Wheat v. Day, (20-14142) (11th Cir.).
 2          4.     Rights Behind Bars also has expertise in litigating complex prison matters in
 3 the federal district courts, including cases involving issues of alleged guard assault and
 4 class action litigation. I have served as counsel in numerous such cases. See e.g. Rivas v.
 5 Hodgson (1:18-cv-11275-PBS) (D. Mass.); Savino et al v. Souza (1:20-cv-10617-WGY)
 6 (D. Mass.) (class action); Pillco Morocho v. Bristol County Sheriff’s Office (1:22-cv-
 7 10652-WGY) (D. Mass); Juarez v. SoFi (4:20-cv-03386-HSG) (N.D. Cal.) (class action);
 8 Jones v. City of St. Louis (4:21-cv-00600-HEA) (E.D. Mo.) (class action); Tillman v. City
 9 of St. Louis (4:21-cv-00299-RLW) (E.D. Mo.); Garrett v. Virginia Department of
10 Corrections (3:20-cv-00986-JAG) (E.D. Va); Johnson v. McCowan (7:20-cv-00582-MFU-
11 JCH) (W.D. Va); Ahn v. GEO Group LLC (1:22-cv-00586-JLT-CDB) (E.D. Cal); Edwards
12 v. Buffalo (5:21-ct-03270-D) (E.D. N.C.); Washington v. Massachusetts Department of
13 Corrections (1:23-cv-10063) (D. Mass).
14          5.     I have also worked with people advocating for clients at FCI Dublin and with
15 people incarcerated at FCI Dublin for approximately the past 2 years and am intimately
16 familiar with the issues attendant to the facility.
17          6.     I graduated from the Northeastern School of Law in 2014. I was admitted to
18 the Massachusetts Bar in 2014 and am also a member of the bars of the Districts of
19 Massachusetts, Colorado, and N.D. Illinois, and the First, Third, Fourth, Fifth, Sixth,
20 Seventh, Eighth, Ninth, Tenth, and Eleventh Circuits, as well as the Supreme Court of the
21 United States.
22          7.     Since being retained to pursue this action, I have devoted substantial
23 resources to this case. My colleagues at RBB and I are committed to the full and thorough
24 preparation of this case and to acting in the best interests of the class, and are willing to
25 take this case to trial. As an organization whose mission is to use the law to address
26 systemic issues incarcerated individuals, RBB is committed to zealously pursuing this
27 matter. To my knowledge, RBB has no conflicts of interest that would prevent the firm
28 from providing zealous representation of the named plaintiffs and the class.
   [4339196.1]                                  2
         DECLARATION OF OREN NIMNI IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                      INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
         Case 4:23-cv-04155-YGR Document 11-4 Filed 08/17/23 Page 4 of 4




 1                 I declare under penalty of perjury under the laws of the State of California that the
 2 foregoing is true and correct, and that this declaration is executed at Oakland California
 3 this 15th day of August, 2023.
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 5
 6
                                                           Oren Nimni
 7                                                         RIGHTS BEHIND BARS
 8                                                         416 Florida Ave. NW #26152
                                                           Washington, D.C. 20001
 9                                                         oren@rightsbehindbars.org
                                                           (202) 540-0029
10
                                                           Honorific: Mr.
11                                                         Pronouns: He/Him/His

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     [4339196.1]                                          3
              DECLARATION OF OREN NIMNI IN SUPPORT OF PLAINTIFFS’ MOTIONS FOR PRELIMINARY
                           INJUNCTION AND PROVISIONAL CLASS CERTIFICATION
